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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
                                           RENO

 DEBORAH J. HITE and
 JAMES BARNHART,
      PLAINTIFFS,

 V.                                                    Civil Action No. 3:19-cv-00660-MMD-WGC

 ETHICON, INC., ET AL.,

            DEFENDANTS.


  ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL OF RECORD



      1.     Pursuant to Local Rule IA 11-6, the following attorneys from the law firm of Kline &

Specter. P.C. respectfully requests an order permitting their withdrawal of counsel of record for the

Plaintiffs in this action:

             Thomas R. Kline, Pennsylvania Bar No. 28895

             Priscilla E. Jimenez, Pennsylvania Bar No. 312403

      2.     The following attorney from the law firm of Youman & Caputo, LLC also respectfully

requests an order permitting their withdrawal of counsel of record for the Plaintiffs in this action:

             Michelle L. Tiger, Pennsylvania Bar No. 43872

      3.     Lee B. Balefsky of Kline & Specter, P.C. located at 1525 Locust Street, Philadelphia,

Pennsylvania, 19102, along with local counsel, is currently identified as counsel of record for

Plaintiffs and will continue to serve as counsel for Plaintiffs in this action.

      4.     The attorneys mentioned above provided notice to Plaintiffs and remaining counsel for

Plaintiffs of their intention to withdraw.

      5.     Plaintiffs and remaining counsel for Plaintiffs consent to their withdrawal.

      6.     The attorneys mentioned above provided notice to Defense counsel of their intention to
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withdraw.

    7.      Remaining counsel for Plaintiffs are aware of the dates of any scheduled proceedings and

any such proceedings will not be affected by this withdrawal.

    8.      Any services of notices may be made upon Plaintiffs through their remaining counsel of

record.

                                                     Respectfully submitted,

                                                     KLINE & SPECTER, PC



Dated: May 14, 2020                           BY:    /s/ Lee B. Balefsky_____
                                                     Lee B. Balefsky, Esquire/25231
                                                     KLINE & SPECTER, P.C.
                                                     1525 Locust Street, 19th Floor
                                                     Philadelphia, PA 19102
                                                     (215) 772-1000
                                                     Lee.Balesky@klinespecter.com
                                                     Attorneys for Plaintiff


                                              BY:    /s/ Michelle L. Tiger___
                                                     Michelle L. Tiger
                                                     YOUMAN & CAPUTO, LLC
                                                     3803 West Chester Pike, Suite 150
                                                     Newtown Square, PA 19073
                                                     (215) 302-1999
                                                     Mtiger@youmancaputo.com



IT IS SO ORDERED.

DATED: May 15, 2020.

                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE
